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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

WI-LAN, INC.                                   )
                                               )
       Plaintiff,                              ) CIVIL ACTION NO. 2:08-CV-247 (TJW)
v.                                             )
                                               ) HON. T. JOHN WARD
RESEARCH IN MOTION CORPORATION                 )
et al.                                         )
                                               ) JURY
       Defendants.                             )


     MOTOROLA, INC.’S NOTICE OF DAMAGES DISCLOSURE PURSUANT TO
             PARAGRAPH 3(C) OF THE DISCOVERY ORDER

       Defendant Motorola, Inc. hereby notifies the Court that on February 26, 2010 it served its

damages disclosure pursuant to Paragraph 3(c) of the Discovery Order entered in this matter on

August 25, 2009.

Dated: February 26, 2010                    Respectfully submitted,


                                             ___/s/ Michael E. Jones______
                                             Michael E. Jones
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                                             John F. Bufe
                                             State Bar No. 03316930
                                             Allen F. Gardner
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                                             MOTOROLA, INC.
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                               CERTIFICATE OF SERVICE


       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this MOTOROLA, INC.’S

NOTICE OF DAMAGES DISCLOSURE PURSUANT TO PARAGRAPH (C) OF THE

DISCOVERY ORDER via the Court’s CM/ECF system per Local Rule CV-5(a)(3) on

February 26, 2010.


                                             /s/ Michael E. Jones
                                           Michael E. Jones




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